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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


STATE OF OHIO,
                                                           Case No. 2:21-cv-5587
                      Plaintiffs,                          Judge Edmund A. Sargus, Jr.
v.

MICHAEL JASON MEADE,

                      Defendant.

                                    TELEPHONE NOTICE


        TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:

Place: United States District Court
       Joseph P. Kinneary U.S. Courthouse
       85 Marconi Boulevard                                December 16, 2021 at 10:00 a.m.
       Columbus, Ohio 43215

TYPE OF PROCEEDING: Telephone Status Conference

       TAKE NOTICE that a Telephone Status Conference will be held before the Honorable

Edmund A. Sargus, Jr. on December 16, 2021 at 10:00 a.m. The parties are directed to call 888-684-

8852 and enter the access code 9586353# and the conference security code 5587.




                                            EDMUND A. SARGUS, JR.
                                            UNITED STATES DISTRICT JUDGE
DATE: December 15, 2021

                                               /s / Christin M. Werner
                                            (By) Christin M. Werner, Deputy Clerk
